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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          *
                                                  *
                   vs.                            *       Case No. 1:21-cr-00028-APM-2
                                                  *
DONOVAN CROWL                                     *
         Defendant                                *
                                                  *

                                               ooOoo

                                              ORDER

       Upon consideration of the Consent Motion to Modify Conditions of Pretrial Release to

Authorize Travel for Funeral Services, filed by Donovan Crowl, good cause having been shown, it

is this _______ day of August, 2021, by the United States District Court for the District of Columbia

       ORDERED:

       1.      That the Conditions of Pretrial Release are hereby MODIFIED to allow Mr. Crowl

to travel out of town from August 12, 2021 through August 23, 2021 to visit his family in Illinois

and attend funeral services for his mother.

       2.       Between August 12, 2021 and August 23, 2021, Mr. Crowl shall not be required to

submit to location monitoring services but instead shall report by telephone to Pretrial Services once

a day. As soon as he returns to Ohio, Mr. Crowl shall notify his Pretrial Services Officer.

       3.      All other Conditions of Release shall remain in force.


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                                                       HONORABLE AMIT P. MEHTA
                                                       United States District Judge
